Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 1 of 7




  EXHIBIT 1
     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 2 of 7
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 1

 2                        UNITED STATES DISTRICT COURT.
                        FOR THE DISTRICT OF MASSACHUSETTS
 3

 4                                       )
       JANSSEN BIOTECH, INC.,            )
 5     and NEW YORK UNIVERSITY,          )
                                         )
 6               Plaintiffs,             )
                                         )   Civil Action
 7     v.                                )   No. 15-CV-10698-MLW
                                         )
 8     CELLTRION HEALTHCARE CO.,         )
       LTD, CELLTRION, INC., and         )
 9     HOSPIRA, INC.,                    )
                                         )
10               Defendants.             )
                                         )
11

12                      BEFORE THE HONORABLE MARK L. WOLF
                           UNITED STATES DISTRICT JUDGE
13

14                                   CONFERENCE

15                  *** Portions of this transcript sealed ***
                              Attorneys' Eyes Only
16

17                                December 22, 2016
                                      1:58 p.m.
18

19
                    John J. Moakley United States Courthouse
20                              Courtroom No. 10
                               One Courthouse Way
21                        Boston, Massachusetts 02210

22
                            Kelly Mortellite, RMR, CRR
23                            Official Court Reporter
                    John J. Moakley United States Courthouse
24                        One Courthouse Way, Room 5200
                           Boston, Massachusetts 02210
25                             mortellite@gmail.com
     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 3 of 7
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20                   Scott Berk, Patterson, Belknap, Webb & Tyler LLP
                     Peter Lawson, Patterson Belknap, Webb & Tyler LLP
21

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     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 4 of 7
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 1                            P R O C E E D I N G S

 2     THE FOLLOWING PROCEEDINGS WERE HELD IN THE JURY ROOM:

 3               THE COURT:    Did one of you lose your client?

 4               MR. DISKANT:    We lost everybody.

 5               THE COURT:    Well, I intended that they be here.

 6               MR. DISKANT:    Sorry.     We told him otherwise.      I

 7     apologize, Your Honor.

 8               THE COURT:    All right.    At the moment we're

 9     operating -- well, we're operating under my October 7, 2016

10     order that scheduled a two-week trial or what you expect will

11     be a two-week trial for February 13, and I've carved that time

12     out.   There's a lot of pressure on my calendar.        But that's

13     dedicated to you and the other dates.        Pretrial conference and

14     hearings on motions in limine are also there, a little closer

15     to the trial than I would have liked.        But anyway, so now we

16     need a briefing schedule with regard to this Hospira, whether

17     Hospira could be liable as a joint venture or agency pursuant

18     to the contract.

19               In fact, I should have you identify yourselves for the

20     record again so it will be clear who is here.

21               MR. DISKANT:    For the plaintiff, Greg Diskant and

22     Irena Royzman, both from Patterson Belknap.

23               MR. HURST:    Jim Hurst from Kirkland & Ellis for the

24     defendants.

25               MR. KLEIN:    Charles Klein, Winston & Strawn, for the
     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 5 of 7
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 1     has to be a threat that the defendant won't change his conduct.

 2     As I recall, I think it derives from the Eighth Amendment case

 3     of Farmer v. Brennan.      But why wouldn't they get an injunction

 4     if they win?

 5                 MR. HURST:   For multiple reasons.     One reason is we

 6     are not purchasing from the Utah facility anymore.          We're

 7     purchasing from the Singapore facility.        So what would the

 8     injunction enjoin us from doing?       Number one.

 9                 Number two, you know, it's the traditional four-factor

10     test.   They'd literally be asking you to take off the market a

11     competitor to Remicade.

12                 THE COURT:   I don't think it is a four-factor test for

13     a permanent injunction.      It's a four-factor test for a

14     preliminary injunction.

15                 MR. HURST:   It's a four-factor test also for the --

16                 THE COURT:   Whatever it is.

17                 MR. HURST:   I think there's four factors, right?

18                 MR. DISKANT:   Likelihood of success --

19                 MR. HURST:   That's true, but we still have the other

20     factors.    Balance of equities, irreparable harm, harm to

21     consumers of taking a competitive drug off the market.

22                 THE COURT:   That's the eBay case.

23                 MR. HURST:   This patent, it doesn't relate to

24     Remicade.    You understand that, right?      This patent is just a

25     generic cell media.
     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 6 of 7
                                                                             46




 1                 All right.   Well, keep up the good work as long as you

 2     have to do it.     But I really -- and if you want to see me --

 3     well, I'm really not available the week of January 9 because

 4     I'm teaching three hours a day that week.         But, you know, if at

 5     some point you want to see me about settlement, probably of

 6     only the '083, before some date we have, let me know.            My

 7     schedule is pretty dense, but I'd really like to try to

 8     facilitate this.

 9                 MR. HURST:   Thank you, Your Honor.

10                 THE COURT:   It think it would be in the public

11     interest.

12                 MR. DISKANT:   Thank you, Your Honor.

13                 THE COURT:   All right.   Thank you.

14                 (Adjourned, 4:04 p.m.)

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     Case 1:17-cv-11008-MLW Document 329-1 Filed 06/04/18 Page 7 of 7
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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

 6     certify that pursuant to Section 753, Title 28, United States

 7     Code that the foregoing is a true and correct transcript of the

 8     stenographically reported proceedings held in the

 9     above-entitled matter and that the transcript page format is in

10     conformance with the regulations of the Judicial Conference of

11     the United States.

12                           Dated this 28th day of December, 2016.

13

14                           /s/ Kelly Mortellite

15                           _______________________________

16                           Kelly Mortellite, RMR, CRR

17                           Official Court Reporter

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